Case 25-30155 Document 37-8 Filed in TXSB on 04/07/25 Page 1 of 4




                  EXHIBIT 8
       Case 25-30155 Document 37-8 Filed in TXSB on 04/07/25 Page 2 of 4




                             CAUSE NO. 24-07-11639

DUSTIN ETTER, ALLIANCE         §               457th JUDICIAL DISTRICT COURT
ENERGY PARNERS, LLC, AE        §
PARTNERS HOLDINGS, INC., AE    §
PARTNERS HOLDINGS, LLC         §
AEP ASSET HOLDINGS, LLC,       §
AND INVICTIS DRILLING          §
MOTORS, LLC                    §
v.                             §
JEROD P. FURR, CORINA FURR,    §
ALLIANCE FARM & RANCH, LLC,    §
AE PARTNERS HOLDINGS, LLC,     §
AE PARTNERS HOLDINGS, INC.,    §
ALLIANCE ENERGY PARTNERS, LLC, §
AEP ASSET HOLDINGS, LLC, and   §
INVICTIS DRILLING MOTORS, LLC  §                MONTGOMERY COUNTY, TEXAS

                          NOTICE OF BANKRUPTCY

       Please take notice that on January 7, 2025, Alliance Farm & Ranch, LLC filed

for bankruptcy protection in the United States Bankruptcy Court for the Southern

District Of Texas under Case Number 25-30155.

                                             Respectfully submitted,

                                                 /s/ Alyssa M. Cuellar
                                             J. Randal Bays
                                             State Bar No. 01943900
                                             randy@baysfirm.com
                                             Alyssa M. Cuellar
                                             State Bar No. 24135656
                                             alyssa@baysfirm.com
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                                             Conroe, Texas 77301
                                             Tel: (936) 760-7670
                                             Fax: (936) 760-7671
                                             ATTORNEYS FOR JEROD P. FURR,
                                             CORINA FURR. ALLIANCE FARM &
                                             RANCH, LLC, AE PARTNERS

NOTICE OF BANKRUPTCY                                                      Page 1 of 2
       Case 25-30155 Document 37-8 Filed in TXSB on 04/07/25 Page 3 of 4




                                              HOLDINGS, INC., ALLIANCE
                                              ENERGY PARTNERS, LLC, AEP
                                              ASSET HOLDINGS, LLC, and
                                              INVICTIS DRILLING MOTORS, LLC

                          CERTIFICATE OF SERVICE

       This is to certify that the foregoing Notice of Bankruptcy was served on January
7, 2025 on the following counsel of record via e-service pursuant to Rules 21 and 21a
of the Texas Rules of Civil Procedure:

Noah Meek
2700 Interstate 45 N, Suite 130
Spring, Texas 77386

                                                /s/ Alyssa M. Cuellar
                                              Alyssa M. Cuellar




NOTICE OF BANKRUPTCY                                                          Page 2 of 2
Case 25-30155 Document 37-8 Filed in TXSB on 04/07/25 Page 4 of 4
